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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF WISCONSIN


JENNIFER A. HADSALL,
for and on behalf of the NATIONAL LABOR
RELATIONS BOARD,
                                                                TEMPORARY INJUNCTION
                              Petitioner,
      v.
                                                                          21-cv-9-jdp
ADT, LLC,

                              Respondent.



     IT IS ORDERED that respondent ADT, LLC is temporarily ENJOINED as follows:

           1. ADT must immediately recognize The International Brotherhood of Electrical
              Workers Local Union 364 (the union) as the exclusive collective-bargaining
              representative of the employees in the following unit: all full-time and regular
              part-time installers, technicians and service personnel formerly employed by
              ADT at its Rockford, Illinois facility; but excluding all office clerical employees,
              professional employees, guards, and supervisors as defined in the National Labor
              Relations Act, and all other employees.

           2. ADT may not make unilateral changes in terms and conditions of employment
              of the unit employees without first providing notice to the union and bargaining
              in good faith to agreement or impasse.

           3. Upon the union’s request, ADT must bargain collectively and in good faith with
              the union as the exclusive representative of the employees in the unit with
              respect to wages, hours, and other terms and conditions of employment.

           4. Upon the union’s request, ADT must rescind any or all of the unilateral changes
              made after August 31, 2020.

           5. Within five days of the issuance of this injunction, ADT must electronically
              distribute the court’s decision and injunction to all of the Rockford employees
              and post copies at its Janesville, Wisconsin, facility in all places where notices to
              employees are normally posted and maintain those postings during the National
              Labor Relation Board’s administrative proceeding free from all obstructions and
              defacements, and grant all employees free and unrestricted access to said
              postings.
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   6. Within ten days of the issuance of this injunction, ADT must hold a mandatory
      meeting or meetings through video conference or, with the union’s consent, in
      person at its facility, on work time with the above unit of employees, scheduled
      to ensure the widest possible participation, at which the injunction is to be read
      to the employees by a responsible management official, or at ADT’s option, by
      a Board Agent in that official’s presence.

   7. Within 15 days of the issuance of this order, file with the district court and serve
      upon Jennifer Hadsall a sworn affidavit from a responsible official describing
      with specificity the manner in which ADT has complied with the injunction,
      including the locations of the posted documents and the date and time that the
      order was read to employees.

   8. This order will expire when the National Labor Relations Board issues a final
      decision in this case.

Entered June 4, 2021.

                                     BY THE COURT:

                                     /s/
                                     ________________________________________
                                     JAMES D. PETERSON
                                     District Judge




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